        Case 1:22-cr-00168-KJM Document 29 Filed 05/31/24 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                             UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                             No. 1:22-cr-00168-KJM-1
12                             Plaintiff,                  ORDER
13           v.
14
     Roy W. Patterson,
15
                               Defendant.
16

17          On June 10, 2022, defendant Roy W. Patterson pled guilty to one count of obtaining or

18   exercising unlawful possession over a property of another with the purpose to deprive the owner

19   of the property in Yosemite National Park in the State and Eastern District of California in
20   violation of 36 C.F.R. § 2.30(a)(1). See Mins. Plea & Sent’g, ECF No. 7; Crim. Compl., ECF

21   No. 1. A magistrate judge sentenced defendant to 120 days incarceration with no probation to

22   follow release. Mins. Plea & Sent’g.

23          Following sentencing, defendant appealed his sentence to the district court. See Notice of

24   Appeal, ECF No. 11. The appeal is fully briefed. See Appellant’s Br., ECF No. 16; Appellee’s

25   Br., ECF No. 17; Appellant’s Reply Br., ECF No. 18. Defendant also filed a motion for release

26   pending appeal. Mot., ECF No. 21. The then presiding district judge held a hearing on that

27   motion on October 3, 2022. Mins. Hr’g, ECF No. 26. During that hearing, defense counsel

28   informed the court “that the hearing may be moot [a]s defendant should be released as of

                                                     1
        Case 1:22-cr-00168-KJM Document 29 Filed 05/31/24 Page 2 of 2


 1   10/3/2022.” Id. The court terminated the motion for release pending release. See Docket Entry

 2   (Oct. 4, 2022). On May 9, 2024, this matter was reassigned to the undersigned. See Order, ECF

 3   No 28.

 4            Although defendant appears to have been released, the court is not able to confirm as

 5   much, and defendant has not withdrawn his appeal. Accordingly, the parties are directed to file

 6   supplemental briefs addressing whether the appeal is now moot. See United States v. Palomba,

 7   182 F.3d 1121, 1123 (9th Cir. 1999); United States v. Verdin, 243 F.3d 1174, 1177–78 (9th Cir.

 8   2001). Each brief shall be no longer than five (5) pages and shall be filed within fourteen (14)

 9   days.

10            IT IS SO ORDERED.

11   DATED: May 30, 2024.

12




                                                      2
